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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION

UNITED STATES OF AMERICA,

       Plaintiff,
                                                                       931
v.                                                 CASE NO. 8:04-cr-&ST-30EAJ

JUAN BAUTISTA LUGO,

       Defendant.


                     AMENDED FORFEITURE MONEY JUDGMENT

       THIS CAUSE comes before the Court upon the filing of the Motion of the United

States of America for Entry of a Forfeiture Money Judgment, which, at sentencing, shall

be a final order of forfeiture as to funds in the amount of $ 1, TOO. 000.00                in

United States currency, for which defendant Juan Bautista Lugo is jointly and severally

liable to the United States, along with all other defendants found guilty of the heroin

trafficking conspiracy charged in Count One of the Second Superseding lndictment filed

in the instant case. For good cause shown, the Government's motion is GRANTED.

The court hereby finds that $    1 , $00    000.00           in United States currency is

the amount of funds obtained by the defendants as a result of the conspiracy charged in

Count One of the Second Superseding Indictment in violation of 21 U.S.C. 5 841(a)(l),

all in violation of 21 U.S.C. $5 841(b)(l)(A)(i) and 846, for which defendant has been

found guilty. Accordingly, it is hereby

       ORDERED, ADJUDGED and DECREED that defendant Juan Bautista Lugo is

jointly and severally liable with all other defendants found guilty of the heroin trafficking

conspiracy charged in Count One of the Second Superseding Indictment, pursuant to
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 the provisions of 21 U.S.C. § 853 and Fed. R. Crim. P. 32.2(b)(2), for a forfeiture money

 judgment in the amount of $      I , 8 0 0 , 0 0 O .00     in United States currency,

 which represents the like amount of proceeds the defendant and others obtained as a

 result of the conspiracy to commit violations of 21 U.S.C. § 841(a)(l), all in violation of

 21 U.S.C. 5s 841(b)(l)(A)(i) and 846.

        DONE and ORDERED in Chambers in Tampa, Florida, this                       day of

                       , 2005.




                                                   U@D      STATES DISTRICT JUDGE



 Copies to:

 Adelaide G. Few, AUSA
 All Attorneys of Record
